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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

         APPALACHIAN VOICES, et al.,             )
                                                 )
                            Plaintiffs,          )
                                                 )
                                                         Civil Action No. 1:25-cv-01982-PLF
         v.                                      )
                                                 )
        UNITED STATES                            )
        ENVIRONMENTAL                            )
        PROTECTION AGENCY, et al.,               )
                                                 )
                           Defendants.           )

              PLAINTIFFS’ MOTION IN SUPPORT OF CLASS CERTIFICATION

       Pursuant to Federal Rule of Civil Procedure 23(a) and 23(b)(2), and Local Civil Rule 23.1(b),

Plaintiffs1, on behalf of themselves and all others similarly situated, respectfully move this Court for

an order certifying the following class:

               All entities that received awards from the EPA authorized in whole or in part by 42
       U.S.C. § 7438 which EPA then terminated after January 20, 2025 (including statutory
       partners). The covered awards are Environmental Justice Collaborative Problem Solving
       Cooperative Agreements (CFDA 66.306); Environmental and Climate Justice Community
       Change Grants (CFDA 66.616); Thriving Communities Grantmaking Grants (CFDA 66.615);
       Environmental Justice Government-to-Government Program awards awarded to non-State
       entities (CFDA 66.312), as well as awards to Thriving Communities Technical Assistance
       Centers (CFDA 66.309).

              This class excludes the plaintiffs in Sustainability Institute v. Trump, No. 25-cv-2152-
       RMG (D.S.C.) or Green & Healthy Homes Initiative, Inc. v. EPA, No. 25-cv-01096 (D. Md.)
       and excludes entities whose awards were expressly terminated for identified financial or
       performance failures.

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 Plaintiffs include Appalachian Voices; 2C Mississippi; Air Alliance Houston; Allegheny County,
Pennsylvania; Bessemer Historical Society, d/b/a Steelworks Center of the West; City of Springfield,
Massachusetts; Clean Air Council; Deep South Center for Environmental Justice; Health Resources in
Action; Institute for Sustainable Communities; Inter-Tribal Council of Michigan; Kalamazoo County,
Michigan; King County, Washington; Lowcountry Alliance for Model Communities; Native Village
of Kipnuk; Parks Alliance of Louisville; Pittsburgh Conservation Corps (Landforce); PUSH Buffalo;
Sacramento, California; San Francisco, California; Treasure Island Mobility Management Agency;
and WE ACT for Environmental Justice.

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       Plaintiffs further request that the Court appoint all named Plaintiffs as class representatives

and Southern Environmental Law Center, Earthjustice, and Public Rights Project as class counsel.

Plaintiffs filed a Complaint alleging that Defendants’ termination of the Environmental and Climate

Justice Block Grant Programs violates the U.S. Constitution’s Separation of Powers and Presentment

Clause, and the Administrative Procedure Act, 5 U.S.C. §§ 551 et. seq. For the reasons explained in

the accompanying memorandum of law, Plaintiffs respectfully asks this Court to grant this motion

and enter the attached Proposed Class Certification Order.

       Respectfully submitted this 27th day of June 2025,

                                              /s/ Ben Grillot
                                              Ben Grillot (D.C. Bar No. 982114)
                                              Kimberley Hunter (N.C. Bar No. 41333)
                                              (Pro Hac Vice forthcoming)
                                              Irena Como (N.C. Bar No. 51812)
                                              (Pro Hac Vice forthcoming)
                                              James Whitlock (N.C. Bar No. 34304)
                                              (Pro Hac Vice forthcoming)
                                              SOUTHERN ENVIRONMENTAL LAW CENTER
                                              122 C Street NW, Suite 325
                                              Washington, DC 20001
                                              Telephone: (202) 828-8382
                                              Facsimile: (202) 347-6041
                                              bgrillot@selc.org
                                              kmeyer@selc.org
                                              icomo@selc.org
                                              jwhitlock@selc.org

                                              Counsel for Appalachian Voices, 2°C Mississippi,
                                              Lowcountry Alliance for Model Communities, Parks
                                              Alliance of Louisville, Pittsburgh Conservation
                                              Corps (Landforce) and Southwest Renewal
                                              Foundation and Proposed Class Counsel

                                              /s/ Hana V. Vizcarra
                                              Hana V. Vizcarra (D.C. Bar No. 1011750)
                                              Deena Tumeh (D.C. Bar No. 1741543)
                                              Linnet Davis-Stermitz (WA Bar No. 63190)
                                              (Pro Hac Vice)
                                                  2
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                            Molly Prothero (D.C. Bar No. 1779237)
                            Andrew Saavedra (N.Y. Bar No. 6062814)
                            (Pro Hac Vice)
                            EARTHJUSTICE
                            1001 G Street NW, Suite 1000
                            Washington, D.C. 20001
                            Telephone: (202) 667-4500
                            hvizcarra@earthjustice.org
                            dtumeh@earthjustice.org
                            ldavisstermitz@earthjustice.org
                            mprothero@earthjustice.org
                            asaavedra@earthjustice.org

                            Counsel for Air Alliance Houston, Bessemer
                            Historical Society (d/b/a Steelworks Center of the
                            West), Deep South Center for Environmental
                            Justice, Downwinders at Risk, Health Resources in
                            Action, Institute for Sustainable Communities,
                            Inter-Tribal Council of Michigan, PUSH Buffalo, and
                            WE ACT for Environmental Justice and
                            Proposed Class Counsel

                            /s/ Toby Merrill
                            Toby Merrill (D.D.C. Bar ID MA0006)
                            Graham Provost (D.C. Bar No. 1780222)
                            (Pro Hac Vice pending)
                            Elaine Poon (VA Bar No. 91963)
                            (Pro Hac Vice pending)
                            PUBLIC RIGHTS PROJECT
                            490 43rd Street, Unit #115
                            Oakland, CA 94609
                            Telephone: (510) 738-6788
                            toby@publicrightsproject.org
                            graham@publicrightsproject.org
                            elaine@publicrightsproject.org

                            Counsel for Allegheny County, Kalamazoo County, King
                            County, Native Village of Kipnuk, City of Sacramento,
                            City and County of San Francisco, City of Springfield,
                            and Treasure Island Mobility Management Agency and
                            Proposed Class Counsel


                            /s/ Julie Wilensky
                            David Chiu (CA Bar No. 189542)
                            SAN FRANCISCO CITY ATTORNEY
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                            Yvonne R. Meré (CA Bar No. 175394)
                            (Pro Hac Vice forthcoming)
                            Chief Deputy City Attorney
                            Mollie M. Lee (CA Bar No. 251404)
                            (Pro Hac Vice forthcoming)
                            Chief of Strategic Advocacy
                            Sara J. Eisenberg (CA Bar No. 269303)
                            (Pro Hac Vice forthcoming)
                            Chief of Complex and Affirmative Litigation
                            Julie Wilensky (CA Bar No. 271765)
                            (Pro Hac Vice forthcoming)
                            Deputy City Attorney
                            1390 Market Street, 7th Floor
                            San Francisco, CA 94102
                            Telephone: (415) 554-4274
                            yvonne.mere@sfcityatty.org
                            mollie.lee@sfcityatty.org
                            sara.eisenberg@sfcityatty.org
                            julie.wilensky@sfcityatty.org

                            Counsel for City and County of San Francisco and
                            Treasure Island Mobility Management Agency

                            /s/ David J. Hackett
                            David J. Hackett (WA Bar No. 21234)
                            (Pro Hac Vice forthcoming)
                            General Counsel to King County Executive & Special
                            Deputy Prosecutor
                            Alison Holcomb (WA Bar No. 23303)
                            (Pro Hac Vice forthcoming)
                            Deputy General Counsel to King County Executive &
                            Special Deputy Prosecutor
                            OFFICE OF KING COUNTY PROSECUTING ATTORNEY
                            LEESA MANION
                            401 5th Avenue, Suite 800
                            Seattle, WA 98104
                            (206) 477-9483
                            David.Hackett@kingcounty.gov
                            aholcomb@kingcounty.gov

                            Counsel for Martin Luther King, Jr. County




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                              CERTIFICATE OF SERVICE

       I certify that on June 27, 2025, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system. I further certify that arrangements have been made

to deliver a true and correct courtesy copy of the foregoing to the following via Certified

U.S. Mail, Return Receipt Requested:

       United States Environmental Protection Agency
       1200 Pennsylvania Avenue, NW
       Washington, DC 20460

       Lee Zeldin, in his official capacity as
       Administrator of the United States Environmental
       Protection Agency
       Mail Code 1101A
       1200 Pennsylvania Avenue, NW
       Washington, DC 20460

       Jeanine Ferris Pirro, in her official capacity as
       United States Attorney for the District of Columbia
       601 D Street, NW
       Washington, DC 20579

       Pamela Bondi, in her official capacity as
       Attorney General of the United States Department
       of Justice
       950 Pennsylvania Avenue, NW
       Washington, DC 20530


                                                    /s/ Ben Grillot
                                                    Counsel for Plaintiffs




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